Case 1:23-cr-00206 Document 1 Filed on 03/18/23 in TXSD Page 1 of 2

 

AQ 91 (Rev. 11/11) Criminal Complaint FELONY United States Courts Southern
District of Texas
UNITED STATES DISTRICT COURT FILED
for the March 18, 2023

Southern District of Texas Nathan Ochsner, Clerk of Court

 

 

 

United States of America )
v. )
Roberto Lugardo MORENO Case No. B-23-MJ-245-1
)
)
)
Defendants)
CRIMINAL COMPLAINT
], the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of March 17, 2023 in the county of Cameron in the
Southern District of Texas , the defendant(s) violated:
48 Code Section Offense Description
Title #4 USC § 554 Knowingly conspired to export or send from the United States, or attempt to
Title PA USC § 371 export or send from the United States, any merchandise, article, or object

contrary to any law or regulation of the United States, or receives, conceals,
buys, sells, or in any manner facilitates the transportation, concealment, or
sale of such merchandise, article or object, prior to exportation, Knowing the
same to be intended for the exportation contrary to any law or regulation of
the United States, to wit: a Diamondback Arms, Inc. DB-15 multi-caiiber AR
style pistol, serial number: DBIS94494

This criminal complaint is based on these facts:

 

See attached Affidavit.
sf Continued on the attached sheet. : Digitally signed by ANDRES
ANDRES | ours ye
° CONTRERAS JR Date: 2023.03.18 10:49:40
ef __-05'00'
Complainant's signature

Andres Contreras, HS! Special Agent

Printed name and title

 

Submitted by reliable electronic means, sworn to, signature attested
telephonically per Fed. R. Crim. P. 4.1, on
18
“ ' Judge's signature

City and state: Brownsville, Texas Ronald G. Morgan, U.S. Magistrate Judge

Printed name and title

 
Case 1:23-cr-00206 Document 1 Filed on 03/18/23 in TXSD Page 2 of 2

Attachment A B-23-MJ-245-1

On March 17, 2023, Homeland Security Investigations (HSI) and the Bureau of Alcohol,
Tobacco, Firearms and Explosives (ATF) Special Agents (SAs) conducted a post-Miranda
interview of Roberto Lugardo MORENO. On this date, MORENO admitted to purchasing a
Diamondback Arms, Inc. DB-15 multi-caliber AR style pistol, serial number: DBIS94494 on
October 17, 2019. MORENO admitted to purchasing this and other firearms for individuals that
he knew were going to provide them to a Gulf Cartel figure in Mexico. MORENO further
admitted that he knew it was illegal to do so.

On March 14, 2023, HSI Harlingen received information that the aforementioned Diamondback
Arms, Inc. DB-15 multi-caliber AR style pistol, serial number: DBIS94494 had been recovered
by Mexican authorities and linked to an incident involving the murders and kidnappings of US
citizens which occurred on March 3, 2023 in Matamoros, Tamaulipas, Mexico.

MORENO also stated that he did not apply for a license to export any firearm from the United

States and that he knowingly purchased the AR style pistol knowing that it would be exported to
Mexico without the proper license to export to Mexico contrary to law. MORENO stated that he
received one payment of one hundred dollars ($100) during the period that he purchased firearms

for individuals that he knew were going to provide them to a Gulf Cartel figure in Mexico.

€ Digitally signed by ANDRES
ANDRES \ CONTRERAS JR

CONTRERAS IR So 10:59:23

Andy Contreras, Special Agent

18 Homeland Security Investigations

Sworn to before me and signed on March X¥2023 in Brownsville, Texas.

Lf tog —

“Ronald G. Mérgan
United States Magistrate sade
